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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MARYLAND


   UNITED STATES OF AMERICA,
                                                        CIVIL NO. JKB-17-0099
                          Plaintiff;
           v.
   BALTIMORE CITY POLICE DEPARTMENT,
   et. al.,


                          Defendants.


                       CONSENT MOTION FOR CONTINUANCE
                     OF PLAINTIFF UNITED STATES OF AMERICA

       Plaintiff United States of America moves for continuance of all deadlines in this matter,

including the December 27, 2018, deadline for DOJ to submit its monthly meeting submission;

the December 28, 2018, deadline for the parties’ submission of the OPR classification protocol

and Policy 306; and the Court’s January 3, 2019, monthly meeting.

       1. At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired, and appropriations to the Department lapsed. The

Department does not know when Congress will restore funding.

       2. Absent an appropriation, Department of Justice attorneys are prohibited from working,

even on a voluntary basis, except in very limited circumstances, including “emergencies

involving the safety of human life or the protection of property.” 31 U.S.C. § 1342.

       3. Counsel for the Department of Justice requests that all deadlines, monthly meetings,

and public hearings be postponed until Congress has restored appropriations to the Department.

       4. If this consent motion is granted, counsel for the United States will notify the Court,

the Baltimore Police Department (BPD), and the Monitor as soon as Congress has appropriated
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funds for the Department of Justice. The United States requests that, at that point, postponed

deadlines and court appearances be reset at a time workable for all.

       5. Counsel for BPD has authorized the United States to state that it does not object to

postponing the deadlines described in this motion.

       Therefore, although the United States regrets the disruption caused to the Court and BPD,

the United States moves to postpone the December 27, 2018, deadline for DOJ to submit its

monthly meeting submission; the December 28, 2018, deadline for the parties’ submission of the

OPR classification protocol and Policy 306; and the Court’s January 3, 2019, monthly meeting.

       Respectfully submitted this 26th day of December, 2018.

                                      /Respectfully Submitted,


                                       /s/ Cynthia Coe
                                      Cynthia Coe
                                      Trial Attorney
                                      Civil Rights Division
                                      Special Litigation Section
                                      950 Pennsylvania Avenue, NW
                                      Washington, DC 20530
                                      Telephone: (202) 353-1121
                                      Fax: (202) 514-4883
                                      District of Columbia Bar No. 438792
                                      Email: Cynthia.Coe@.usdoj.gov
                                      Attorney for Plaintiff the United States




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                                CERTIFICATE OF SERVICE

       I certify that on December 26, 2018, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, to give notice to all registered parties.


                                      /s/ Cynthia Coe
                                     CYNTHIA COE
                                     Attorney for Plaintiff the United States




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